Case 3:08-cr-00064-JPB-RWT Document 251 Filed 01/09/12 Page 1 of 5 PageID #: 787




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 MARTINSBURG


 WILLIE EDWARD BARNES,
 a/k/a “Big Will,”

               Petitioner,

 v.                                               CIVIL ACTION NO. 3:10-CV-107
                                                  CRIMINAL ACTION NO. 3:08-CR-64-1
                                                  (BAILEY)

 UNITED STATES OF AMERICA,

               Respondent.


                ORDER ADOPTING REPORT AND RECOMMENDATION

 I.     Introduction

        On this day, the above-styled matter came before the Court for consideration of the

 Report and Recommendation of United States Magistrate Judge David J. Joel [Civ. Doc.

 4; Crim. Doc. 246]. By Standing Order, entered on March 24, 2000, this action was

 referred to Magistrate Judge Joel for submission of a proposed report and recommendation

 (“R&R”). Magistrate Judge Joel filed his R&R on November 1, 2011. In that filing, the

 magistrate judge recommends that this Court deny petitioner Willie Edward Barnes’

 (“Barnes”) § 2255 petition as barred by the waiver contained in his plea agreement.

        Pursuant to 28 U.S.C. § 636(b)(1)(c), this Court is required to make a de novo

 review of those portions of the magistrate judge’s findings to which objection is made.

 However, the Court is not required to review, under a de novo or any other standard, the

 factual or legal conclusions of the magistrate judge as to those portions of the findings or

                                              1
Case 3:08-cr-00064-JPB-RWT Document 251 Filed 01/09/12 Page 2 of 5 PageID #: 788




 recommendation to which no objections are addressed. Thomas v. Arn, 474 U.S. 140,

 150 (1985). In addition, failure to file timely objections constitutes a waiver of de novo

 review and the petitioner's right to appeal this Court's Order. 28 U.S.C. § 636(b)(1);

 Snyder v. Ridenour, 889 F.2d 1363, 1366 (4th Cir. 1989); United States v. Schronce,

 727 F.2d 91, 94 (4th Cir. 1984). Here, objections to Magistrate Judge Joel’s R&R were due

 by November 21, 2011. Barnes timely objected to the R&R on November 17, 2011 [Crim.

 Doc. 249]. Accordingly, this Court will undertake a de novo review of those portions of the

 magistrate judge’s findings to which objection is made. The Court will review the remainder

 of the R&R for clear error.

 II.    Background

        Pursuant to a plea agreement, Barnes pled guilty to possession with the intent to

 distribute 141.1 grams of cocaine base, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(A).

 Included in the plea agreement was the following waiver of appellate and habeas rights:

        Defendant also waives his right to challenge his sentence or the manner in
        which it was determined in any collateral attack, including but not limited to,
        a motion brought under Title 28 United States Code, Section 2255 (habeas
        corpus).


 ([Crim. Doc. 127 at ¶ 11). Despite this waiver, Barnes has filed the instant § 2255 petition.

 In recommending denial, Magistrate Judge Joel concluded that Barnes’ petition is barred

 by his § 2255 waiver. Barnes objects, essentially restating the arguments previously made

 in support of his petition.

 III.   Discussion

        In his sole ground for relief, Barnes contends that his attorney was ineffective

                                              2
Case 3:08-cr-00064-JPB-RWT Document 251 Filed 01/09/12 Page 3 of 5 PageID #: 789




 because he failed to object to Magistrate Judge Joel’s recommendation that this Court deny

 his motion to suppress evidence. Upon a de novo review of the record, this Court agrees

 with Magistrate Judge Joel that this claim is barred by the § 2255 waiver in Barnes’ plea

 agreement.

        Where there is a waiver of collateral-attack rights in a petitioner’s plea agreement,

 a court reviewing an ineffective assistance of counsel claim must determine (1) whether the

 waiver is knowing and intelligent and (2) whether the facts giving rise to the claim occurred

 prior to the defendant entering his guilty plea. If a court determines that both of these

 issues should be answered in the affirmative, the claim is barred. See United States v.

 Attar, 38 F.3d 727, 731-732 (4th Cir. 1994) (appellate waiver context); see also United

 States v. Lemaster, 403 F.3d 216, 220 n.2 (4th Cir. 2005) (finding “no reason to

 distinguish between waivers of direct appeal rights and waivers of collateral-attack rights”).

        First, there can be no question that the waiver contained in Barnes’ plea agreement

 is knowing and intelligent. During the Rule 11 plea colloquy, Magistrate Judge Joel asked

 Barnes if he understood that he was “giving up the majority of [his] rights to appeal any

 sentence, or to file a writ of habeas corpus,” and Barnes replied that he understood. See

 United States v. Blick, 408 F.3d 162, 169 (4th Cir. 2005) (finding that a reviewing court

 should consider “whether the district court questioned the defendant about the appeal

 waiver”). Barnes also testified that he had received an eleventh grade education and did

 not have a disability or hearing impairment that would prevent him from effectively

 participating in the hearing. See Id. (finding that a reviewing court should consider “the

 background, experience, and conduct of the accused”). Accordingly, this Court concludes


                                               3
Case 3:08-cr-00064-JPB-RWT Document 251 Filed 01/09/12 Page 4 of 5 PageID #: 790




 that the waiver at issue is valid.

        Similarly, there is little doubt that the waiver contained in Barnes’ plea agreement

 encompasses the ineffective assistance claim he now asserts.1 Again, such a waiver bars

 ineffective assistance claims to the extent that the deficient performance complained of

 occurred prior to a knowing and intelligent plea and waiver. See Attar, 38 F.3d at 732.

 Here, Barnes’ attorney had until December 8, 2008, to object to Magistrate Judge Joel’s

 recommendation that his motion to suppress be denied. (See [Crim. Doc. 95] at Thus, his

 attorney’s allegedly deficient performance occurred, at the latest, on December 4, 2008.

 However, Barnes signed the plea agreement containing the subject waiver on January 12,

 2009, and participated in a Rule 11 plea colloquy on the same day. See Crim Docs. 127

 & 130. Accordingly, because the allegedly deficient performance complained of occurred

 prior to a knowing and intelligent plea and waiver, Barnes’ ineffective assistance of counsel

 claim is barred.

 IV.    Conclusion

        Upon careful review of the record, it is the opinion of this Court that the magistrate

 judge’s Report and Recommendation [Civ. Doc. 4; Crim. Doc. 246] should be, and is,

 hereby ORDERED ADOPTED for the reasons more fully stated therein. Further, the

 petitioner’s Objections [Crim. Doc. 249] are OVERRULED. Accordingly, the petitioner’s

 § 2255 petition [Civ. Doc. 1; Crim. Doc. 237] is hereby DENIED and DISMISSED WITH



        1
          In fact, the Honorable Irene M. Keeley recently concluded that a nearly identical
 ineffective assistance of counsel claim was barred by a § 2255 waiver in a petitioner’s plea
 agreement. See Drake v. United States, 2011 WL 1066920, *1-2 (N.D. W.Va. Mar. 21,
 2011).

                                              4
Case 3:08-cr-00064-JPB-RWT Document 251 Filed 01/09/12 Page 5 of 5 PageID #: 791




 PREJUDICE. As such, this Court DIRECTS the Clerk to enter judgment in favor of the

 respondent and strike this case from the active docket of this Court. As a final matter, upon

 an independent review of the record, this Court hereby DENIES the petitioner a certificate

 of appealability.

        It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to all counsel of record and to

 mail a copy to the pro se petitioner.

        DATED: January 9, 2012.




                                              5
